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    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                             10-3698

                                Jayne Cubbage v. Bloomberg LP

                                          2-05-cv-02989

                                           ORDER

In accordance with the agreement of the parties in the above-captioned case, the matter is hereby
dismissed pursuant to Fed. R. App. P. 42(b), without cost to either party. A certified copy of this
order is issued in lieu of a formal mandate.



For the Court,

Pc~'Pt·V~
Marcia M. Waldron, Clerk

Dated: April 1, 2011

lsi pdb Case Manager

cc:
Thomas H. Golden Esq.
1. Edward McCain III Esq.




                                                           Marcia M. Waldron, Clerk
                                                   Certified order issued in Jieu of mandate.
